                                              UNITED STATES BANKRUPTCY COURT4:18-bk-05271
                                                    DISTRICT OF ARIZONA

    In re                                                                                    Case No.
    Rachel E Hampton
                                                                                             CHAPTER 13 PLAN

                                                                                               Original
                                                                     Debtor(s).                Amended
                                                                                               Modified
                                                                                               Payments include post-petition mortgage payments
                                                                                               Flat Fee/Administrative Expense
                                                                                               Hourly Fee/Administrative Expense




    This Plan includes the following (check all that are applicable):
                  1




                              A limit on the amount of a secured claim, which may result in a partial payment or no payment to the secured
                              creditor. See Section (C)(5)(b).
                              Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest. See Section (C)(5)(c).
                              Nonstandard Provisions. See Section (H).

Your rights may be affected by this Plan. Your claim may be reduced, modified or eliminated. If you object to the treatment of
your claim as proposed in this Plan or to any provision of this Plan, you must file a written objection by the deadline set forth
below. The Bankruptcy Court may confirm this Plan without further notice if no objection is filed and the order is approved
by the Trustee. See Bankruptcy Rule 3015 and Local Rule 2084-13.

This Chapter 13 Plan is proposed by the above Debtor2. The Debtor certifies that the information contained in this Plan is accurate. A
creditor who disagrees with the proposed treatment of its debt in this Plan must timely file an objection to the Plan and serve copies on
the Debtor, Debtor’s attorney (if any), and the Chapter 13 Trustee not less than 14 days after the date set for the first meeting of
creditors, or any continuation of such meeting, or 28 days after service of the Plan, whichever is later. See Local Rule 2084-9.
This Plan does not allow claims or alter the need for timely filing any claim. For a creditor to receive a distribution for an unsecured
claim, the creditor must file a proof of claim with the Court.

If confirmed, the Plan will modify the rights and duties of the Debtor and creditors, except secured creditors will retain their liens until
the earlier of payment of the underlying debt or Debtor’s discharge under 11 U.S.C. § 13283. If the case is dismissed or converted to
another chapter (for example, Chapter 7) without completion of the Plan, each lien shall be retained to the extent recognized by
applicable non-bankruptcy law.

Pre-petition defaults will be cured using the interest rate set forth in the Plan. Any ongoing obligation will be paid according to the
terms of the Plan.

                      This is an Amended or Modified Plan.

The reason(s) why Debtor filed this Amended or Modified Plan:


Summarize how the Plan varies from the last Plan filed:

(A) Plan Payments and Property to be Submitted to the Trustee.
1
    "Plan" includes the original plan and any amended or modified plan.
2
 If this is a joint case, then "Debtor" means both Debtors.
3
 “Code” means the United States Bankruptcy Code, 11 U.S.C. § 101 et. seq.
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            Plan payments start on 6/9/18. The Debtor shall pay the Trustee as follows:                                 4:18-bk-05271
$530 each month for month 1 through month 60.

The proposed plan duration is 60 months. The applicable commitment period is 36 months.
See Code § 1325(b)(4). In addition to plan payments and, if applicable, mortgage conduit payments, Debtor will submit the following
property to the Trustee:


(B) Trustee’s Percentage Fee. The Trustee shall collect upon receipt a percentage fee from all plan payments (including mortgage
payments) and property received, not to exceed 10%.

(C) Administrative Expenses and All Claims.

    (1) Until the Court confirms the Plan the Trustee will make adequate protection payments under Section (C)(1)(a) below, mortgage
        conduit payments under Section (C)(1)(b), if applicable, and pay other sums as ordered by the Court. Other disbursements will
        be made after the Court confirms the Plan. Unless otherwise provided for in Section (H) below, disbursements by the Trustee
        shall be pro rata within classes and made in the following order:

         (a) Adequate protection payments to creditors secured by personal property.

                  None. If “None” is checked, the rest of Section (C)(1)(a) is not to be completed.

Pursuant to Local Rule 2084-6, the Trustee is authorized to make monthly pre-confirmation adequate protection payments to a secured
creditor without a Court order, provided the claim is properly listed on Schedule D, a secured proof of claim is filed that includes
documentation evidencing a perfected security agreement, and the Debtor or creditor sends a letter to the Trustee requesting payment.
The Trustee will apply adequate protection payments to the creditor’s secured claim. After confirmation, adequate protection
payments will continue until the claim is paid in full, unless the confirmed Plan or a Court order specifies a different treatment. If a
creditor disagrees with the amount of the proposed adequate protection payments or the Plan fails to provide for such payments, the
creditor may file an objection to confirmation of this Plan and/or file a motion pursuant to Code §§ 362 or 363.

                                 Creditor                                Property Description              Collateral Value       Monthly Amount
               American Credit Accept                            2016 Toyota Corolla 27000 miles       $14,000.00               $140.00

   Nonstandard Provisions. See Section (H)

         (b) Mortgage Conduit Payments.

                  None.

                  The Trustee shall disburse Conduit Payments to a Real Property Creditor without regard to whether the Court has
                  confirmed a Plan or the Real Property Creditor has filed a proof of claim. See Section (C)(4)(c) and Local Rule 2084-4.

    (2) Administrative expenses. Code § 507(a)(2).

         (a) Attorney fees. Debtor’s attorney has agreed to:

                  A flat fee of $ 4,500.00              , of which $ 700.00      was paid before the filing of the case (See Local Rule 2084-3);
                  or

                  File a fee application for payment of a reasonable amount of fees. The estimated amount of fees to be paid by the Trustee,
                  subject to Court order, is $    , of which $      was paid before the filing of the case.

         (b) Additional Services. Counsel for the Debtor has agreed to charge a flat fee for the following additional services provided to
             the Debtor:

            (i) Before Confirmation:
                   Adversary proceedings $.
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                            Lien Avoidance Actions $ 750 .
                            Preparing and filing of any motion to sell property $ 750 .
                                                                                                               4:18-bk-05271
                            Other Flat Fees for Motion to Incur Debt $ 500 .

            (ii)        After Confirmation
                          Preparing and filing of Modified Plan $ 750 .
                          Responding to motion to dismiss and attendance at hearings $.
                          Defending motion for relief from the automatic stay $ 500 .
                          Adversary proceedings $.
                          Lien Avoidance Actions $ 750 .
                          Preparing and filing of any motion to sell property $ 750 .
                          Other Flat Fees for Motion to Incur Debt $ 500 .

              All other additional services will be billed at the rate of $300 per hour for attorney time and $120 per hour for paralegal
              time. Counsel will file and notice a separate fee application detailing the additional fees and costs requested. Counsel will
              include all time expended in the case in the separate fee application.

         (c) Other Professional Expenses:



    (3) Leases and Unexpired Executory Contracts.

             None. If “None” is checked, the rest of Section (C)(3) is not to be completed.

         Pursuant to Code § 1322(b), the Debtor assumes or rejects the following lease or unexpired executory contract. For a lease or
         executory contract with sums owing, the arrearage will be cured by periodic plan payments. Unless the Court orders otherwise,
         the arrearage amount shall be the amount stated in the creditor’s allowed proof of claim.

         (a) Assumed.

              No interest will be paid on the prepetition arrearage unless otherwise stated in Nonstandard Provisions at Section (H). A
              creditor identified in this paragraph may mail to the Debtor all correspondence, notices, statements, payment coupons,
              escrow notices, and default notices concerning any change to the monthly payment or interest rate without such being a
              violation of the automatic stay.

                                 Creditor                              Property Description      Estimated Arrearage    Arrearage Through
                                                                                                      Amount                   Date

                   Nonstandard Provisions. See Section (H)

         (b) Rejected.

                                          Creditor                                             Property Description

                   Nonstandard Provisions. See Section (H)

    (4) Creditors with a Security Interest in Real Property.

             None. If “None” is checked, the rest of Section (C)(4) is not to be completed.

         (a) Claim Wholly Unsecured. The Debtor considers any real property creditor listed below to have an unsecured claim under
             Code § 506(a) as senior liens are greater in amount than the value of the real property. Unless disallowed or otherwise
             ordered, each of the following shall be classified as a wholly unsecured claim under Section (C)(7) below. This provision
             shall not alter the status of a claim otherwise entitled to be classified as a priority under Code § 507(a)(8).


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                                 Creditor                              Property Description            Value of Collateral       Total Amount of
                                                                                                                    4:18-bk-05271
                                                                                                                        Liens with Greater
                                                                                                                                     Priority
               -NONE-

         (b) No Pre-Petition Mortgage Arrears. To the extent there are no pre-petition arrears, regular post-petition mortgage payments
             shall be paid directly by the Debtor to the secured creditor.

                                     Creditor                                     Property Address                    Post-Petition Payments by
                                                                                                                                Debtor
               -NONE-

         (c) Curing of Default and Maintenance of Payments. Prepetition arrearages, including fees and costs, as well as the regular
             post-petition payments shall be paid through the Plan by the Trustee. No interest will be paid on the prepetition arrearage
             unless otherwise stated in Nonstandard Provisions. Unless the Court orders otherwise, the arrearage amount shall be the
             amount stated in the creditor’s allowed proof of claim.

              A creditor identified in this paragraph may mail the Debtor all correspondence, notices, statements, payment coupons,
              escrow notices, and default notices concerning any change to the monthly payment or interest rate without violating the
              automatic stay.

                 Creditor or Property                Property Description      Current Monthly           Estimated           Arrearage        Interest
                  Servicing Agent                                                 Payment            Arrearage Amount         Amount          Rate, if
                                                                                                           Owed                Owed          applicable
                                                                                                                             Through            (i.e.,
                                                                                                                                              HOAs)
               -NONE-

                 Nonstandard Provisions. See Section (H).

    (5) Claims Secured by Personal Property or a Combination of Real and Personal Property.

             None. If “None” is checked, the rest of Section (C)(5) is not to be completed.

              Claims under paragraphs (a) and (b) that are included in the plan payment will be paid concurrently and pro rata.

         (a) Unmodified Secured Claims.

                  None. If “None” is checked, the rest of Section (C)(5)(a) is not to be completed.

              A claim stated in this subparagraph (i.e. 910 claims) will be paid in full under the Plan with interest at the rate stated below,
              which may vary from the contract interest rate. Unless otherwise ordered, the principal amount to be paid will be as stated in
              the creditor’s proof of claim. The holder of a claim will retain the lien until the earlier of payment of the underlying debt
              determined under nonbankruptcy law or discharge under Code § 1328, at which time the lien will terminate and shall be
              released by the creditor. Federal tax liens shall continue to attach to property excluded from the bankruptcy estate under
              Code § 541(c)(2) until the Internal Revenue Service is required to release the liens in accordance with nonbankruptcy law.

                                 Creditor                              Property Description           Estimated Amount to        Proposed Interest
                                                                                                       Be Paid on Secured             Rate
                                                                                                             Claim

                 This debt has nonfiling codebtor(s) other than a spouse.
                            Name(s) of other individual(s) liable:
                            Post-petition payments to be made by:       Trustee; or
                                                                        Nonfiling codebtor.
                 Nonstandard Provisions. See Section (H).

         (b) Modified Secured Claims.
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                 None. If “None” is checked, the rest of Section (C)(5)(b) is not to be completed.                      4:18-bk-05271
              Secured creditors listed below shall be paid the amount shown below as the Amount to Be Paid on Secured Claim, with
              such amount paid through the Plan payments. If the Plan proposes to pay a Secured Claim less than the amount asserted in
              the proof of claim, then the holder of the Secured Claim must file a timely objection to the Plan. If the principal amount of
              the creditor’s proof of claim is less than the Amount to Be Paid on Secured Claim, then only the proof of claim amount will
              be paid. If a creditor fails to file a secured claim or files a wholly unsecured claim, the debtor may delete the proposed
              payment of a secured claim in the order confirming plan. The holder of a timely filed secured claim will retain its lien until
              the earlier of payment of the underlying debt determined under non-bankruptcy law or discharge under § 1328, at which
              time the lien will terminate and shall be released by the creditor. Any proposed adequate protection payments are provided
              for in Section (C)(1)(a) above.

                  Creditor and Property Description                  Debt Amount           Value of Collateral and       Amount to Be         Proposed
                                                                                             Valuation Method           Paid on Secured        Interest
                                                                                                                             Claim              Rate
               American Credit Accept                                   $18,379.00                        $14,000.00         $18,379.00 5.25%
               2016 Toyota Corolla 27000 miles

                 Nonstandard Provisions. See Section (H).

         (c) Lien Avoidance.

                  None. If “None” is checked, the rest of Section (C)(5)(c) is not to be completed.

              The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair
              exemptions to which the debtor(s) would have been entitled under Code § 522(b). Unless ordered otherwise, a judicial lien
              or security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of
              the order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an
              unsecured claim in Section (C)(7) to the extent allowed. The amount, if any, of the judicial lien or security interest that is
              not avoided will be paid in full as a secured claim under the plan. See Code § 522(f) and Bankruptcy Rule 4003(d). If more
              than one lien is to be avoided, provide the information separately for each lien. All information for the avoidance of the
              lien(s) must be provided.

 Information regarding judicial lien or security interest                          Information regarding calculation of lien avoidance and treatment
                                                                                   of remaining secured claim

    (6) Priority, Unsecured Claims, Other Than Debtor’s Attorney Fees.

             None. If “None” is checked, the rest of Section (C)(6) is not to be completed.

              All allowed claims entitled to priority treatment under § 507 shall be paid in full, pro rata:

         (a) Unsecured Domestic Support Obligations. The Debtor shall remain current on such obligations that come due after filing
             the petition. Unpaid obligations before the petition date are to be cured in the plan payments. The amount to be paid will be
             adjusted to the creditor’s allowed claim amount, through the claim process. If the holder of a domestic support obligation
             disagrees with the treatment proposed in this Plan, the holder must file a timely objection.

                                                   Creditor                                                  Estimated Arrearage

         (b) Other unsecured priority claims.

                                     Creditor                                   Type of Priority Debt                       Estimated Amount
               Internal Revenue Service                              11 U.S.C. 507(a)(8)                             $1,500.00
               Wisconsin Department of Revenue                       11 U.S.C. 507(a)(8)                             $500.00

                 Nonstandard Provisions. See Section (H).

   (7) Nonpriority, Unsecured Claims. Allowed unsecured, nonpriority claims shall be paid pro rata the balance of payments, if any,
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         under the Plan. The amount to be paid or actually paid may differ from the Plan Analysis, depending on the Plan confirmation
         process and claims allowance.                                                                   4:18-bk-05271
             Nonstandard Provisions. See Section (H).

(D) Surrendered Property.

          None. If “None” is checked, the rest of Section (D) is not to be completed.

          Debtor surrenders the following property to the secured creditor. Upon confirmation of this Plan or except as otherwise
          ordered by the Court, bankruptcy stays are lifted as to the collateral to be surrendered. Any claim filed by such creditor shall
          receive no distribution until the creditor files a claim or an amended proof of claim that reflects any deficiency balance
          remaining on the claim. Should the creditor fail to file an amended deficiency claim consistent with this provision, the Trustee
          need not make any distributions to that creditor.

                                                Entity                                               Brief Description of Property

(E) Vesting. Except as stated in this paragraph, property of the estate shall vest in the Debtor upon confirmation of the Plan.

      The following property shall vest in the Debtor upon Plan completion:

                                                                     Brief Description of Property


      Nonstandard Provisions. See Section (H).

(F) Tax Returns. While the case is pending, the Debtor shall provide to the Trustee a copy of any post-petition tax return within 14
    days after filing the return with the tax agency. The Debtor has filed all tax returns for all taxable periods during the four-year
    period ending on the petition date, except:
                                                          Unfiled Tax Returns


(G) Funding Shortfall. Debtor will cure any funding shortfall before the Plan is deemed completed.



(H) Nonstandard Provisions. Any Nonstandard Provision included herein must not be inconsistent with the Code or Local Rules and
    must identify the provision of the Plan being modified, the proposed modification and the justification for the modification. The
    Debtor submits the following provisions that vary from Section (C) of the Local Plan Form:

          None. If “None” is checked, the rest of Section (H) is not to be completed.
          Provide the detail required above.

                                                                       Nonstandard Provisions




(I)      Plan Summary. If there are discrepancies between the Plan and this Plan Analysis, the provisions of the confirmed Plan
         control.




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          (1)         Trustee’s compensation (10% of Total plan payments to Trustee)                           $                     3,180.00
          (2)         Administrative Expenses (§(C)(2))                                                       4:18-bk-05271
                                                                                                               $       3,800.00
          (3)         Leases and Executory Contracts (§(C)(3))                                                 $                           0.00
          (4)         (a) Conduit Mortgage Payments (§ (C)(4)(c))                                              $                           0.00
          (4)         (b) Arrearage Claims Secured Solely by Real Property (§ (C)(4)(c))                       $                           0.00
          (5)         (a) Claims Secured by Personal Property or Combination of Real & Personal Property (§    $                           0.00
                      (C)(5)) - Unmodified.
          (5)         (b) Claims Secured by Personal Property or Combination of Real & Personal Property (§    $                   20,958.48
                      (C)(5)) - Modified.
          (6)         Priority Unsecured Claims (§(C)(6))                                                      $                    2,000.00
          (7)         Unsecured Nonpriority Claims (§ (c)(7))                                                  $                    1,861.52
          (8)         Total of Plan Payments to Trustee                                                        $                   31,800.00

(J)      Section 1325 Analysis.

          (1)     Best Interest of Creditors Test:

                (a)     Value of Debtor’s interest in nonexempt property                                              $                  0.00
                (b)     Plus: Value of property recoverable under avoidance powers                                    $                  0.00
                (c)     Less: Estimated Chapter 7 administrative expenses                                             $                  0.00
                (d)     Less: Amount payable to unsecured, priority creditors                                         $              2,000.00
                (e)     Equals: Estimated amount payable to unsecured, nonpriority claims if Debtor filed Chapter 7   $                  0.00


  (2)     Section 1325(b) Analysis:

           (a) Monthly Disposable Income, Form B122C-2, (if less than $0, then state $0)                                  $          -441.06
           (b) Applicable Commitment Period                                                                           $                   36
           (c) Total of Line 2(a) amount x 36                                                                         $           -15,878.16
 (3) Estimated Payment to Unsecured, Nonpriority Creditors Under Plan                                                 $             1,861.52

Certification by Debtor(s) and Attorney for Debtor(s): No changes were made to the Model Plan, other than the possible
inclusion of relevant Nonstandard Provisions in Section (H).


 Dated: May 10, 2018

 /s/ Rachel E Hampton
 Rachel E Hampton
 Debtor

 /s/ Benjamin Wright
 Benjamin Wright
 Attorney for Debtor
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